                          UNITED STATES BANKRUPTCY COURT FOR THE
                               EASTERN DISTRICT OF WISCONSIN


In re:                                                          CASE NO. 20-27367 GMH
HYPERVIBE, INC.
                                                                Chapter 7

                           Debtor(s).

                         NOTICE OF TRUSTEE'S PROPOSED ABANDONMENT

         BRUCE A. LANSER, the Trustee of this case intends to abandon the estate's interest in certain

property, as described below, pursuant to 11 U.S.C. §554.

         Your rights may be affected. You should read these papers carefully and discuss them with

your attorney, if you have one in the bankruptcy case. (If you do not have an attorney, you may wish

to consult one.)

         If you object to the Trustee's intended abandonment, or if you want the court to consider your views

on the matter, then on or before November 8, 2021, you or your attorney must:

         1.        File with the Court a written objection to the abandonment and a request for a hearing at:

                           Clerk, U.S. Bankruptcy Court
                           Room 126, Federal Courthouse
                           517 E. Wisconsin Avenue
                           Milwaukee, WI 53202

         2.        If you mail your objection to the Court for filing, you must mail it early enough so the
                   Court will receive it on or before the date stated above.

         3.        You must also mail a copy to:

                   Office of the U.S. Trustee                       BRUCE A. LANSER
                   517 E. Wisconsin Ave., Rm 430                    N14 W24200 Tower Place, Suite 201
                   Milwaukee, WI 53202                              Waukesha, WI 53188

         If you or your attorney do not take these steps, the Court may decide that you do not oppose the

relief sought in the Trustee's notice and may enter an order granting that relief.

         The Trustee intends to abandon the estate's interest in the following property for the reasons set

forth:




               Case 20-27367-gmh             Doc 207      Filed 10/22/21        Page 1 of 2
        The Trustee intends to abandon the following property, not because of exemption, security interest

or liens, but because the property is burdensome to the estate and of inconsequential value for the following

reasons:

        Property to be abandoned:        Cash on hand of $1,372.36

        Reason/explanation for proposed abandonment:

    •   In August, 2021, following court approval of the trustee’s Final Report, the trustee sent out

        approximately 4,271 checks representing the disbursement of approximately $700,000 to creditors

        of the debtor. Two of those checks, totaling $1,372.36, were returned to the trustee because the

        recipients had either recovered the funds from other sources or because the creditor acknowledged

        filing duplicate claims and not being entitled to the funds.

    •   Under ordinary circumstances those returned funds would be redistributed, however the cost of

        another distribution would exceed the amount being held. It is noted that “abandonment” means

        the funds in question will be returned to the debtor.

        The Trustee reserves the right to withdraw from the proposed abandonment should circumstances

require. Requests for additional information should be directed to the Trustee.

        Date: October 22, 2021                            /s/ Bruce A. Lanser
                                                          BRUCE A. LANSER, Trustee
                                                          N14 W24200 Tower Place
                                                          Suite 201
                                                          Waukesha, WI 53188
                                                          Tel. (262) 522-2280




               Case 20-27367-gmh           Doc 207       Filed 10/22/21        Page 2 of 2
